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                   United States Court of Appeals
                                    For the Seventh Circuit
                                    Chicago, Illinois 60604

                                         May 2, 2024

                                            Before

                          FRANK H. EASTERBROOK, Circuit Judge

                          DAVID F. HAMILTON, Circuit Judge

                          MICHAEL B. BRENNAN, Circuit Judge



 No. 24-1492                                                  Appeal from the United States
                                                              District Court for the Western
 NATIONAL WILDLIFE REFUGE ASSOCIATION, et al.,
                                                              District of Wisconsin.
    Plaintiffs-Appellees,
                                                              No. 3:24-cv-00139-wmc
         v.
                                                              William M. Conley,
 RURAL UTILITIES SERVICE, et al.,
                                                              Judge.
    Defendants-Appellees.

         v.

 ITC MIDWEST LLC and DAIRYLAND POWER
 COOPERATIVE,
     Intervening Defendants-Appellants.



                                          ORDER

        In 2021 the district court entered a preliminary injunction prohibiting a federal
agency from approving a proposed land exchange that was then under consideration. It
made the injunction permanent in 2022. National Wildlife Refuge Association v. Rural
Utilities Service, 580 F. Supp. 3d 588, 608–10 (W.D. Wis. 2022). We reversed that decision
as both premature (final agency action had yet to occur) and substantively
problematic. Driftless Area Land Conservancy v. Rural Utilities Service, 74 F.4th 489 (7th
Cir. 2023).
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       In February 2024 the agency approved a land exchange, and the district court
issued a preliminary injunction that forbids the closing of that swap. National Wildlife
Refuge Association v. Rural Utilities Service, 2024 U.S. Dist. LEXIS 53509 (W.D. Wis. Mar.
25, 2024), motion for stay pending appeal denied, 2024 U.S. Dist. LEXIS 76854 (W.D. Wis.
Apr. 26, 2024). Neither the opinion supporting the injunction nor the opinion declining
to stay the injunction’s effectiveness finds that plaintiffs are likely to succeed on their
claim that the land exchange is unlawful. Instead the district court expressed concern
that private parties might begin to build a transmission line before the court could
address the merits. Because construction might be hard to undo, the judge stated, an
injunction is appropriate.

        The Supreme Court held in Winter v. Natural Resources Defense Council, Inc., 555
U.S. 7, 20 (2008), that “[a] plaintiff seeking a preliminary injunction must establish that
he is likely to succeed on the merits, that he is likely to suffer irreparable harm in the
absence of preliminary relief, that the balance of equities tips in his favor, and that an
injunction is in the public interest.” See also Nken v. Holder, 556 U.S. 418, 434 (2009).
These factors are not optional. The absence of a finding that the plaintiffs are “likely to
succeed on the merits” precludes the entry of a preliminary injunction.

        Both of the district court’s orders observed that the land exchange had been
blocked in 2022, but that decision was vacated as premature and improvident. It cannot
be relied on to show that the plaintiffs are likely to succeed in this new suit.
See Driftless, 74 F.4th at 496 (the district court’s vacated decision “will not have any
authoritative or precedential effect in any future suit, once any of the federal agencies
makes a new decision”). Nor did the district court make any independent finding about
the plaintiffs’ probability of success.

       We therefore stay the effectiveness of the preliminary injunction.

       The district court remains free to consider whether a permanent injunction is
appropriate. But a permanent injunction, if any, must be based on a conclusion that the
agency’s action is legally forbidden and that other equitable considerations, including
those in 42 U.S.C. §4370m–6(b)(1) & (2) (“the FAST Act”) have been satisfied.
